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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

 IN RE:                                                )
                                                       )        Case No. 20-12377-EEB
 SKLAR EXPLORATION COMPANY, LLC                        )
 EIN: XX-XXXXXXX                                       )        Chapter 11
                                                       )
    Debtor.                                            )
                                                       )
                                                       )        Case No. 20-12380-EEB
 SKLARCO, LLC                                          )
 EIN: XX-XXXXXXX                                       )        Chapter 11
   Debtor.                                             )

  STIPULATION RESOLVING OBJECTION TO MOTION FOR CLARIFICATION OF
    ORDERS AND TO AUTHORIZE IMMEDIATE OFFSET OF JOINT INTEREST
 BILLING OBLIGATIONS (Doc. No. 569) BY AND BETWEEN SKLAR EXPLORATION
    COMPANY, LLC, JJS INTERESTS ESCAMBIA, LLC, JJS INTERESTS STEELE
             KINGS, LLC, AND JJS WORKING INTERESTS, LLC

          The Debtor, Sklar Exploration Company, LLC (“SEC”), JJS Interests Escambia, LLC, JJS
 Interests Steele Kings, LLC, and JJS Working Interests, LLC (collectively “JJS” and together with
 SEC, the “Parties”), by and through their undersigned attorneys, enter into this Stipulation to
 resolve the Objection to Motion for Clarification of Orders and to Authorize Immediate Offset of
 Joint Interest Billing Obligations as follows as follows:
          1.    The Debtors filed its voluntary petition for relief pursuant to Chapter 11 of the
 Bankruptcy Code on April 1, 2020. The Debtors remain Debtors-in-Possession.
          2.    The Office of the United States Trustee appointed an Official Committee of
 Unsecured Creditors (“Committee”) in SEC’s case on April 16, 2020.
          3.    SEC is engaged in business as an independent exploration and production company
 in the oil and gas industry. SEC is an operating company and does not own oil or gas properties.
 SEC has its principal business office in Boulder, Colorado and has additional offices in Shreveport,
 Louisiana and Brewton, Alabama. SEC’s exploration and production activities are primarily
 located in East Texas, North Louisiana, South Mississippi, South Alabama and the Florida
 Panhandle. SEC is also developing properties and opportunities in the western United States,
 though no oil or gas production has been produced from the wells in the western United States.
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         4.       JJS is a holder of working interests in a variety of wells operated by SEC in
 accordance with various operating agreements and participation agreements (collectively, the “Oil
 and Gas Agreement”).
         5.       As a working interest holder, JJS is entitled to payments for its proportionate share
 of revenue generated by sale of oil and gas from the wells operated by SEC. JJS is further obligated
 to pay its proportionate share of expenses associated with operation of the wells in which it holds
 an interest through payment of joint interest billings (“JIBs”).
         6.       JJS currently owes $299,380.49 in JIBs, and holds a pre-petition claim for unpaid
 revenue in the amount of $237,741.62.1
         7.       On September 4, 2020, SEC filed its Motion for Clarification of Orders and to
 Authorize Immediate Offset of Joint Interest Billing Obligations (“Offset Motion”) (Docket No.
 551), seeking clarification of the seeking clarification of the Final Order Authorizing Use of Cash
 Collateral, Granting Adequate Protection, and Providing Related Relief (Docket No. 433) (“Final
 Cash Collateral Order”) and to offset post-petition JIBs owed by working interest owners to SEC
 against post-petition revenue owed to such working interest owners.
         8.       JJS timely filed its Objection to the Offset Motion on September 29, 2020 (Docket
 No. 569), asserting recoupment rights with respect to some or all of the post-petition JIBs.
         9.       To resolve the Objection filed by JJS, JJS and SEC stipulate and agree as follows:
                  a.       Any recoupment rights asserted by JJS with respect to non-payment of JIBs
                  shall be preserved to be addressed in connection with a hearing on confirmation of
                  a Plan of Reorganization;
                  b.       SEC shall continue to remit post-petition revenue to JJS in accordance with
                  the respective operating agreements and participation agreements;
                  c.       JJS shall timely pay post-petition JIBs in accordance with invoices issued
                  by SEC following the date of this Stipulation. For the avoidance of doubt, SEC
                  shall not seek payment from JJS prior to confirmation of a Plan of Reorganization
                  with respect to post-petition JIBs that are invoiced and outstanding as of the date
                  of this Stipulation; and




 1
  All amounts contained herein are presented on collective basis. SEC and JJS maintain records of the amounts
 owed to and from each of the JJS entity.


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                d.      Upon filing this Stipulation, JJS shall withdraw its Objection to the Offset
                Motion at Docket No. 569, without prejudice to JJS’s ability to assert its
                recoupment rights in connection with a hearing on confirmation of a Plan of
                Reorganization in accordance with this stipulation.
        10.     Nothing contained herein shall limit or prejudice the Parties’ rights to assert a
 subsequent default arising under the applicable operating agreements and/or participation
 agreements, nor shall it limit or prejudice the Parties’ right to enforce the applicable agreements
 in the event of a subsequent default.
        WHEREFORE, SEC and JJS pray the Court make and enter an Order approving this
 Stipulation, and for such further and additional relief as to the Court may appear just and proper.

 DATED: February 10, 2021                             Respectfully submitted,

                                                      KUTNER BRINEN, P.C.

                                                      By:___/s/ Keri L. Riley
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                                                          Counsel to JJS Interests North Beach,
                                                          LLC, JJS Interests Escambia, LLC, JJS
                                                          Interests West Arcadia, LLC, JJS
                                                          Interests Steele Kings, LLC and JJS
                                                          Working Interests, LLC




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